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 1                                                        HONORABLE RONALD B. LEIGHTON

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 6
                                 UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7
                                          AT TACOMA
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        NICOLE A. QUINTANILLA,                              CASE NO. 3:19-cv-05161-RBL
 9
                                Plaintiff,                  ORDER GRANTING MOTION TO
10              v.                                          DISMISS PURSUANT TO RULE
                                                            12(B)(6)
11      THE BUREAUS, INC., et al.,
                                                            DKT. #18
12                              Defendant.

13

14                                           INTRODUCTION

15          THIS MATTER is before the Court on Defendants The Bureaus, Inc. (“TBI”), Bureaus

16   Investment Group Portfolio No. 15, LLC (“BIG 15”), and Bureaus Investment Group III’s (“BIG

17   III”) Motion to Dismiss for Pursuant to Rule 12(b)(6). Dkt. #18. Plaintiff Nicole A. Quintanilla’s

18   claims challenge a letter sent by counsel for TBI representing that BIG 15 owns a $1,807.22 debt

19   owed by Quintanilla. According to Quintanilla, the documents provided to verify BIG 15’s

20   ownership of the debt were insufficient authentication. The moving Defendants (collectively

21   “The Bureaus”) argue that the documents provided to Quintanilla support BIG 15’s ownership of

22   the debt and Quintanilla is not legally entitled to additional proof.

23          The Court agrees with the Bureaus and GRANTS their Motion.

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     ORDER GRANTING MOTION TO DISMISS
     PURSUANT TO RULE 12(B)(6) - 1
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 1                                           BACKGROUND

 2           At some unknown time, Quintanilla alleges that “the Defendants” contacted her either

 3   through the mail or by telephone to attempt to collect a debt originally owned by Capital One,

 4   NA, for charges made on an HSBC retail account. Quintanilla also apparently became aware that

 5   The Bureaus had furnished information about her debt to a credit bureau. On October 30, 2018,

 6   Quintanilla sent a letter to TBI demanding authentic proof that they had a valid claim against her.

 7   Dkt. #19 at 8. Her letter identified no legal authority or specific documents for authentication.

 8           TBI, the master servicer for BIG 15, responded on November 6 with a brief letter stating

 9   the open date for the account, the date of delinquency, the last payment prior to acquisition, the

10   charge-off balance and date, and the current balance due. Id. at 11. The letter also contained

11   numerous attached documents evidencing that the debt in question was owed by Quintanilla and

12   was transferred to BIG 15. These documents included a Bill of Sale and Affidavit of Sale signed

13   by the vice president of Capital One, NA, a Certificate of Conformity stating that the sale

14   conformed to Virginia law, an Affidavit of Assignment signed by a Capital One Services, LLC,

15   employee verifying that Quintanilla’s account was transferred to BIG 15, a copy of a check from

16   Quintanilla to HSBC Retail Card Services making a payment on the debt, and copies of

17   Quintanilla’s account statements showing payments and failures to pay. Id. at 12-22.

18   Quintanilla’s account was apparently sold as part of a pool of debts that Capital One sold to BIG

19   15.

20           Unsatisfied with this response, Quintanilla had her lawyer, Bruce Clark, reach out to TBI

21   on November 27. TBI’s counsel, Dara Tarkowski, responded on December 5, with a letter

22   reiterating that BIG 15 owned the debt in question. Id. at 5-6. Tarkowski’s letter included the

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 1   November 6 letter and all of its documentation as attachments. The letter also characterized

 2   Quintanilla’s October 30 letter as a “debt validation request.”

 3           In her Complaint, Quintanilla claims that the December 5 letter from Tarkowski

 4   misrepresented that Defendants actually own Quintanilla’s debt. Quintanilla alleges that

 5   Defendants failed to produce “any authenticatable documentation” in response to her inquiries

 6   and characterized the documents attached to the December 5 letter as “hearsay.” Dkt. #1-1 at 6.

 7   The Complaint asserts more specific issues with the documentation, including that the Bill of

 8   Sale and Affidavit of Sale do not specifically mention Quintanilla or her account and reference a

 9   “Forward Flow Receivable Sale Agreement” between Capital One and the BIG 15 that was never

10   produced to Quintanilla. Although the Affidavit of Assignment does identify Quintanilla and her

11   account, Quintanilla claims that this document is not specific enough and is not reliable because

12   it is not signed by an employee of Capital One, NA. Notably, Quintanilla does not deny that she

13   owes the relevant debt.

14                                               DISCUSSION

15   1.      Legal Standard

16           Dismissal under Fed. R. Civ. P. 12(b)(6) may be based on either the lack of a cognizable

17   legal theory or the absence of sufficient facts alleged under a cognizable legal theory. Balistreri

18   v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1990). A plaintiff’s complaint must allege

19   facts to state a claim for relief that is plausible on its face. See Ashcroft v. Iqbal, 556 U.S. 662,

20   678 (2009). A claim has “facial plausibility” when the party seeking relief “pleads factual

21   content that allows the court to draw the reasonable inference that the defendant is liable for the

22   misconduct alleged.” Id. Although the court must accept as true the Complaint’s well-pled facts,

23   conclusory allegations of law and unwarranted inferences will not defeat an otherwise proper

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 1   12(b)(6) motion to dismiss. Vazquez v. Los Angeles Cty., 487 F.3d 1246, 1249 (9th Cir. 2007);

 2   Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001). “[A] plaintiff’s obligation

 3   to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and conclusions,

 4   and a formulaic recitation of the elements of a cause of action will not do. Factual allegations

 5   must be enough to raise a right to relief above the speculative level.” Bell Atl. Corp. v. Twombly,

 6   550 U.S. 544, 555 (2007) (citations and footnotes omitted). This requires a plaintiff to plead

 7   “more than an unadorned, the-defendant-unlawfully-harmed-me-accusation.” Iqbal, 556 U.S. at

 8   678 (citing id.).

 9           Allegations of “fraud or mistake” trigger a heightened pleading standard under which the

10   plaintiff must “state with particularity the circumstances constituting fraud or mistake.” Fed. R.

11   Civ. P. 9(b). This means “the pleader must state the time, place, and specific content of the false

12   representations as well as the identities of the parties to the misrepresentation.” Schreiber

13   Distrib. Co. v. Serv-Well Furniture Co., 806 F.2d 1393, 1401 (9th Cir. 1986). Sections of the

14   FDCPA that require a showing of false or misleading communications must be pled with

15   particularity under Rule 9(b). Cutler ex rel. Jay v. Sallie Mae, Inc., No. EDCV-13-2142-MWF,

16   2014 WL 7745878, at *3 (C.D. Cal. Sept. 9, 2014). RICO claims may also be subject to Rule

17   9(b)’s requirements if they involve fraud. Moore v. Kayport Package Exp., Inc., 885 F.2d 531,

18   541 (9th Cir. 1989).

19           On a 12(b)(6) motion, “a district court should grant leave to amend even if no request to

20   amend the pleading was made, unless it determines that the pleading could not possibly be cured

21   by the allegation of other facts.” Cook, Perkiss & Liehe v. N. Cal. Collection Serv., 911 F.2d 242,

22   247 (9th Cir. 1990). However, leave to amend should be denied as futile if “no set of facts can be

23   proved under the amendment to the pleadings that would constitute a valid and sufficient claim

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 1   or defense.” Gaskill v. Travelers Ins. Co., No. C11-5847 RJB, 2012 WL 1605221, at *2 (W.D.

 2   Wash. May 8, 2012) (citing Sweaney v. Ada County, Idaho, 119 F.3d 1385, 1393 (9th Cir.1997)).

 3   2.      Fair Debt Collection Practices Act Claim

 4           To state a claim under the FDCPA, a plaintiff must show: “(1) the plaintiff has been the

 5   object of collection activity arising from a consumer debt, (2) the defendant collecting the ‘debt’

 6   is a ‘debt collector’ as defined in the Act, and (3) the defendant has engaged in any act or

 7   omission in violation of the prohibitions or requirements of the act.” Yrok Gee Au Chan v. North

 8   American Collectors, Inc., 2006 WL 778642, at *3 (N.D. Cal. March 24, 2006). The FDCPA

 9   defines “debt collector” as any entity that “regularly collects or attempts to collect, directly or

10   indirectly, debts owed or due or asserted to be owed or due [to] another.” 15 U.S.C. § 1692a(6).

11   The Complaint cites two sections of the FDCPA: 15 U.S.C. §§ 1692e(2)(A) and 1692f(1) as

12   bases for Quintanilla’s claims. Section 1692e(2)(A) provides that a debt collector may not falsely

13   represent “the character, amount, or legal status of any debt.” Section 1692f(1) prohibits “[t]he

14   collection of any amount (including any interest, fee, charge, or expense incidental to the

15   principal obligation) unless such amount is expressly authorized by the agreement creating the

16   debt or permitted by law.”

17           Quintanilla’s Complaint falls far short of these requirements. First, Quintanilla fails to

18   plausibly allege that The Bureaus violated the FDCPA. Her nit-picky grievances with the

19   documents attached to Tarkowski’s letter, documents that The Bureaus were not even obligated

20   to produce under 15 U.S.C. § 1692g, do not plausibly indicate that Tarkowski misrepresented

21   BIG 15’s ownership of the debt. In fact, the documents show that Quintanilla’s debt was sold to

22   BIG 15. For example, the Affidavit of Assignment identifies Quintanilla by name, provides the

23   last 4 digits of her account, specifies the amount owed, and certifies that Capital One assigned

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 1   the debt to BIG 15. Dkt. #19 at 14. The fact that it was signed by an employee of Capital One

 2   Services, LLC, an agent of Capital One, NA, does not diminish its veracity. Quintanilla’s

 3   fixation on the “Forward Flow Agreement” is equally unavailing. Quintanilla is inexplicably

 4   convinced that this document “proves all of the Complaint’s allegations against Defendants with

 5   respect to misrepresentations” but provides absolutely no basis for that conviction. Dkt. #22 at 1.

 6           Quintanilla simply cannot claim that The Bureaus misrepresented owning her debt when

 7   they complied with all legal validation requirements and Quintanilla has no independent reason

 8   for believing the debt was not sold. See Vien-Phuong Thi Ho v. ReconTrust Co., NA, 858 F.3d

 9   568, 589 (9th Cir.) (“[A]a debt collector satisfied section 1692g(b) by sending a letter to the

10   debtor that included the debtor’s address, the date of the deed of trust, and the name and address

11   of the original creditor.”). Quintanilla bafflingly argues that “nothing in the FDCPA prohibits a

12   collector from being responsive to a consumer who has asked the collector for authenticatable

13   proof of their claim.” Dkt. #22 at 20. Indeed. However, there is also nothing in the FDCPA that

14   obligates an entity to satisfy a debtor’s every whim when it comes to authentication.

15           Second, Quintanilla’s Complaint fails to satisfy several basic predicates for a viable

16   FDCPA claim. The Ninth Circuit has held that “communications directed solely to a debtor's

17   attorney are not actionable under the Act.” Guerrero v. RJM Acquisitions LLC, 499 F.3d 926,

18   934 (9th Cir. 2007). Here, the complained-of letter was directed to Quintanilla’s counsel, Bruce

19   Clark. Quintanilla also fails to allege anywhere in her Complaint that any of the Defendants are

20   debt collectors for purpose of the FDCPA. Finally, Quintanilla fails to satisfy Rule 9(b)’s

21   specific pleading requirements with respect to BIG 15 and BIG III’s role in the alleged

22   misrepresentations. For all these reasons, Quintanilla’s FDCPA claim against The Bureaus is

23   dismissed.

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 1   3.      RICO Claim

 2           To violate RICO, “[a] conspirator must intend to further an endeavor which, if

 3   completed, would satisfy all of the elements of a substantive criminal offense, but it suffices that

 4   he adopt the goal of furthering or facilitating the criminal endeavor.” Howard v. Am. Online Inc.,

 5   208 F.3d 741, 751 (9th Cir. 2000). To state a claim based on conspiracy under 18 U.S.C.

 6   § 1962(d), “Plaintiffs must allege either an agreement that is a substantive violation of RICO or

 7   that the defendants agreed to commit, or participated in, a violation of two predicate offenses.”

 8   Id. “A violation of section 1962(d) is demonstrated when ‘the factual allegations of the

 9   complaint, including the words, actions, and relationship between the parties . . . raise[s] an

10   inference that an agreement exists.’” Cascade Yarns, Inc. v. Knitting Fever, Inc., No. C10-861

11   RSM, 2011 WL 31862, at *9 (W.D. Wash. Jan. 3, 2011) (quoting In re Park West Galleries,

12   Inc., 2010 WL 2639849 * 2 (W.D. Wash. June 25, 2010)).

13           A defendant may also violate § 1962(a), (b), or (c) directly. A claim under § 1962(c)

14   requires alleging the following elements: “(1) conduct (2) of an enterprise (3) through a

15   pattern (4) of racketeering activity.”1 Straightshot Commc'ns Inc. v. Telekenex, Inc., No. C10-

16   268Z, 2010 WL 11488936, at *3 (W.D. Wash. Nov. 15, 2010). A plaintiff must also plead the

17   existence of an “enterprise,” i.e. “a group of persons associated together for the common purpose

18   of engaging in a course of conduct.” United States v. Turkette, 452 U.S. 576, 583 (1981). Mail

19   fraud and wire fraud fall within RICO’s definition of “racketeering activity.” 18 U.S.C.

20   § 1961(1). Finally, the plaintiff must allege that the racketeering activity proximately caused

21   their injury. Straightshot, 2010 WL 11488936, at *3.

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       Quintanilla’s Complaint does not specify which subsection of § 1962 supports her claim, but the Court agrees with
     the Bureaus that § 1962(c) is the closest fit.
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 1           Quintanilla’s Complaint fails to satisfy any of these requirements. Her allegations

 2   regarding a supposed agreement between the Defendants amounts to nothing more than

 3   conjecture and speculation. Quintanilla also does not explain how the Defendants collectively

 4   make up an enterprise or how she was injured by their conduct. But perhaps most importantly,

 5   Quintanilla does not plausibly describe a pattern of racketeering activity. For reasons already

 6   explained, Quintanilla’s grievances with the documents attached to one solitary letter do not

 7   indicate a “scheme or artifice to defraud,” much less a pattern of fraud. See Sanford v.

 8   MemberWorks, Inc., 625 F.3d 550, 558 (9th Cir. 2010) (stating the elements for wire or mail

 9   fraud). Quintanilla’s RICO claim is therefore dismissed.

10   4.      Consumer Protection Act Claim

11           “To establish a violation of the CPA, a private plaintiff must prove that: (i) the defendant

12   engaged in an unfair or deceptive act or practice; (ii) such act or practice occurred within a trade

13   or business; (iii) such act or practice affected the public interest; (iv) the plaintiff suffered an

14   injury to his or her business or property; and (v) a causal relationship exists between the

15   defendant’s act or practice and the plaintiff’s injury.” Syria v. AllianceOne Receivables Mgmt.,

16   Inc., No. C17-1139 TSZ, 2018 WL 3455499, at *2 (W.D. Wash. July 18, 2018) (citing Hangman

17   Ridge Training Stables, Inc. v. Safeco Title Ins. Co., 105 Wn.2d 778, 785-93, 719 P.2d 531

18   (1986)). A plaintiff may allege that an act or practice is unfair or deceptive by showing that the

19   defendant misrepresented their product or service somehow. See, e.g., Nordstrom, Inc. v.

20   Tampourlos, 107 Wash. 2d 735, 739, 733 P.2d 208, 210 (1987) (finding that appropriation of

21   Nordstrom’s name misled consumers).

22           A plaintiff also may claim that an act or practice is per se unfair or deceptive based on the

23   violation of certain legislatively-identified statutes, such as the Collection Agency Act (CAA),

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 1   RCW 19.16 et seq. Syria, 2018 WL 3455499, at *3. The CAA, which is Washington’s

 2   counterpart to the federal FDCPA, contains a list of “prohibited practices” that are per se unfair

 3   or deceptive. RCW 19.16.250; RCW 19.16.440. One of those prohibited practices is

 4   “Threaten[ing] to take any action against the debtor which the licensee cannot legally take at the

 5   time the threat is made.” RCW 19.16.250(16).

 6           Here, Quintanilla has failed to state a claim under the CPA. First, she has not alleged that

 7   the representations in Tarkowski’s letter caused any injury to Quintanilla’s business or property.

 8   Second, she has not shown that the December 5 letter constitutes an unfair or deceptive trade

 9   practice. The documents provided with the letter evidence that BIG 15 does indeed own the debt

10   in question and Quintanilla alleges nothing suggesting otherwise. Quintanilla’s CPA claim is

11   dismissed.

12                                            CONCLUSION

13           For the above reasons, Quintanilla’s claims against The Bureaus are DISMISSED with

14   prejudice. Because the Court sees no possibility of Quintanilla curing the defects in her claims,

15   leave to amend is denied.

16           IT IS SO ORDERED.

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18           Dated this 11th day of July, 2019.

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20                                                         A
                                                           Ronald B. Leighton
21                                                         United States District Judge

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